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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   CARO MARKS, Bar #159267
     Senior Litigator
 3   Designated Counsel for Service
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 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   RYAN SCOTT KERN
 7                      IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,       )     No. Mag. No. 07-49 KJM
10                                   )
                    Plaintiff,       )
11                                   )     STIPULATION AND PROPOSED ORDER TO
          v.                         )     CONTINUE PRELIMINARY HEARING
12                                   )
     RYAN SCOTT KERN, et al          )
13                                   )     Date: August 21, 2007
                    Defendant.       )     Time: 2:00 p.m.
14                                   )     Judge: Edmund F. Brennan
     _______________________________ )
15
16        Ryan Scott Kern, by and through his counsel, Caro Marks, Assistant
17   Federal Defender, Rahman Abul Shadebadi, by and through his counsel,
18   Peter Kmeto, and the United States Government, by and through its
19   counsel, William Wong, Assistant United States Attorney, hereby
20   stipulate and agree to vacate the previously scheduled preliminary
21   hearing date of July 18, 2007 and set a preliminary hearing date of
22   August 21, 2007 at 2:00 p.m..
23        A continuance is necessary to allow the parties to continue their
24   pretrial negotiations in an effort to settle the case pre-indictment.
25   Counsel for Mr. Kern has also subpoenaed documents from the state of
26   Nevada pertaining to Mr. Kern’s pending case in that jurisdiction to
27   determine the possibility of a global settlement.         Additional time is
28   necessary to allow counsel to receive and review those documents and to
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 1   discuss a global settlement with the government.
 2         IT IS STIPULATED that the period from the signing of this Order,
 3   through and including August 21, 2007 be excluded in computing the time
 4   within which trial must commence under the Speedy Trial Act, pursuant
 5   to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, for ongoing
 6   preparation of counsel.        It is further stipulated that the defendant’s
 7   agree to extend the time for their preliminary hearing pursuant to
 8   Federal Rule of Criminal Procedure 5.1 (d).           The government fully
 9   concurs with this request.
10   Dated:    July 13, 2007
11                                             Respectfully submitted,
12                                             DANIEL BRODERICK
                                               Federal Defender
13
                                               /s/ Caro Marks
14                                             ________________________
                                               CARO MARKS
15                                             Assistant Federal Defender
                                               Attorney for Defendant
16                                             RYAN SCOTT KERN
17                                             /s/ Pete Kmeto
18                                             _________________________
                                               Attorney for Rahman Abul Shadebadi
19
     Dated: July 16, 2007
20                                             MCGREGOR SCOTT
                                               United States Attorney
21
                                               /s/ William Wong
22
                                               WILLIAM WONG
23                                             Assistant U.S. Attorney
24
                                            ORDER
25
     IT IS SO ORDERED.
26
     Dated: July 16, 2007.
27
                                               Edmund F. Brennan
28                                             U.S. Magistrate Judge


     Stipulation and Order                    -2-
